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                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                  December 05, 2024
                   IN THE UNITED STATES BANKRUPTCY COURT                           Nathan Ochsner, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

IN RE:                              §
                                    §                 CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                                §                 CHAPTER 7
                                    §
        Debtor.                     §
                                    §
JOHN QUINLAN, OMAR KHAWAJA          §
AND OSAMA ABDULLATIF,               §
                                    §
        Plaintiffs,                 §
                                    §
VS.                                 §                 ADVERSARY NO. 23-3141
                                    §
JETALL COMPANIES, INC., ARABELLA §
PH 3201 LLC, 9201 MEMORIAL DR. LLC, §
2727 KIRBY 26L LLC, DALIO HOLDINGS §
I, LLC, DALIO HOLDINGS II, LLC,     §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, SHAHNAZ CHOUDHRI, ALI          §
CHOUDHRI, SHEPHERD-HULDY            §
DEVELOPMENT I, LLC, SHEPHERD-       §
HULDY DEVELOPMENT II, LLC,          §
GALLERIA LOOP NOTE HOLDER LLC, §
MOUNTAIN BUSINESS CENTER, LLC, §
RANDY W WILLIAMS CH7 TRUSTEE,       §
OTISCO RDX LLC, MCITBE, LLC,        §
JETALL/CROIX PROPERTIES LP,         §
AND JETALL/CROIX GP, LLC,           §
                                    §
        Defendants.                 §

              ORDER DENYING DEFENDANTS’ MOTIONS TO DISMISS

       This matter is before the Court on the Motion to Dismiss Complaint (ECF No. 260) filed
by the defendant, Shahnaz Choudhri, the Motion to Dismiss Complaint (ECF No. 261) filed by the
defendants Jetall Companies, Inc., Arabella PH 3201 LLC, 9201 Memorial Dr. LLC, 2727 Kirby
26L LLC, Dalio Holdings I, LLC, Dalio Holdings II, LLC, Shepherd-Huldy Development I, LLC,
Shepherd-Huldy Development II, LLC, and Galleria Loop Note Holder LLC. These two motions

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to dismiss are identical. A joinder to the two motions to dismiss was filed by Ali Choudhri (ECF
No. 264). The plaintiffs filed one response to the two motions to dismiss and the joinder (ECF No.
339). The movants are moving to dismiss the Complaint pursuant to Federal Rule of Civil
Procedure (“FRCP”) 12(b)(1) alleging that the Court lacks jurisdiction, for the failure to state a
claim pursuant to FRCP 12(b)(6), the failure of the Complaint to include a “short and plain
statement of the claim” as required by FRCP 8(a), and the failure to adequately plead fraud under
FRCP 9(b). For the following reasons, the motions to dismiss and the joinder are all denied.
                                      FACTUAL BACKGROUND
This adversary proceeding was commenced on August 1, 2023, (ECF No. 1) (the “Complaint”)
alleging claims against the defendants for fraudulent transfer, fraud, alter ego liability, and joint
business enterprise liability. The Complaint was supplemented on August 30, 2023 (ECF No. 26)
and on March 20, 2024 (ECF No. 158). Venue in this district is proper under 28 U.S.C. §§ 1408
and 1409. Trial is currently scheduled for December 16, 2024.
                                       STANDARD OF REVIEW
        These motions to dismiss were filed pursuant to FRCP 12(b)(1) and FRCP 12(b)(6),
incorporated into Federal Rule of Bankruptcy Procedure 7012, and pursuant to FRCP 9(b),
incorporated into Federal Rule of Bankruptcy Procedure 7009.
        Pursuant to FRCP 12(b)(6), if a plaintiff has failed to state a claim upon which relief may
be granted, a defendant may move to dismiss the complaint.1 The Court reviews motions under
Rule 12(b)(6) “accepting all well-pleaded facts as true and viewing those facts in the light most
favorable to the plaintiffs.”2 The Court “will not strain to find inferences favorable to the
plaintiff.”3 In order to survive a motion to dismiss for failure to state a claim, a plaintiff must meet
FRCP 8(a)(2)’s pleading requirement, requiring a plaintiff to plead “a short and plain statement of
the claim showing that the pleader is entitled to relief.”4 “A complaint does not need detailed
factual allegations but must provide the plaintiff’s grounds for entitlement to relief – including
factual allegations that when assumed to be true raise a right to relief above the speculative level.”5
Fraud claims must, additionally, meet FRCP 9(b)’s heightened pleading requirements. Under


1
  DynaStudy, Inc. v. Houston Independent School District, 325 F.Supp.3d 767,773 (S.D.Tex. 2017).
2
  Stokes v. Gann, 498 F.3d 483, 484 (5th Cir. 2007).
3
  Southland Sec. Corp. v. INSpire Ins. Solutions Inc., 365 F.3d 353,361 (5th Cir. 2004).
4
  Ashcroft v. Iqbal, 556 U.S. 662, 677, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009).
5
  Lombard v. US Unwired, Inc., 565 F.3d 228, 232 (5th Cir. 2009).
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FRCP 9(b), fraud claims must be alleged with particularity concerning the circumstances of the
fraud.6
           FRCP 12(b)(1)
           The bankruptcy court’s jurisdiction arises from 28 U.S.C. §§ 1334(b) which grants district
courts authority over “all civil proceedings arising under title 11, or arising in or related to cases
under title 11.” The movants claim that the underlying claims against them are based solely on
state common law and thus are “independent of bankruptcy law.” They further state that they have
not consented to this Court’s adjudication of the state law claims.
           The movants’ argument regarding their consent to jurisdiction has been waived as this
Court entered a pretrial order on August 2, 2023 at ECF No. 2, which required the parties to object
to this Court’s jurisdiction on or before October 17, 2023. No objection to this Court’s jurisdiction
was filed by that deadline.
           The movants do not address the remainder of Section 1334 regarding whether the claims
arise in or are related to the underlying bankruptcy case, Case No. 22-32998. 28 U.S.C § 157(b)
again provides that bankruptcy judges “may hear and determine all cases under title 11 and all core
proceedings arising under title 11, or arising in a case under title 11, . . .”. The Response points out
that the Fifth Circuit “noted that it was only necessary to determine whether the matter was at least
“related to” the bankruptcy.” In re Canion, 196 F.3d 579, 581–82 (5th Cir. 1999). The claims in
this adversary concern whether or not the debtor and the defendants together engaged in fraudulent
transfers, whether they are alter egos of each other and whether they engaged in a joint enterprise
and whether those actions harmed the plaintiffs, John Quinlan, Omar Khawaja, and Osama
Abdullatif (the “Plaintiffs”). Here, the Court agrees that if the Plaintiffs are successful, and can
collect from the defendants the judgment held against the debtor, the underlying bankruptcy estate
may be affected. In addition, the Plaintiffs assert a cause of action for fraudulent transfer under
the Texas Uniform Fraudulent Transfers Act (“TUFTA”),7 which is a core proceeding under 28
U.S.C. § 157(b)(H). The Court finds that it has jurisdiction over this adversary as a core
proceeding and related to jurisdiction regarding the underlying bankruptcy proceeding. Therefore,
the request to dismiss based on the lack of subject matter jurisdiction is denied.




6
    Oppenheimer v. Prudential Sec. Inc., 94 F.3d 189, 195 (5th Cir. 1996).
7
    TEX. BUS. & COM. CODE §§ 24.005 and 24.006
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        FRCP 8, 9, and 12(b)(6)
        Movants also assert that the Complaint should be dismissed under FRCP 8, 9 and 12(b)(6)
as the allegations are conclusory and inadequate to establish the elements of each claim plead. The
Court disagrees. Instead, it finds that the factual allegations set forth in the Complaint and the two
supplements to the Complaint are sufficient to state a claim upon which relief may be granted.
        With respect to fraud and fraud-based claims, a complaint must meet a heightened pleading
standard, “stat[ing] with particularity the circumstances constituting fraud” and the “[m]alice,
intent, knowledge, and other conditions” necessarily underlying fraud.8 Specifically, the complaint
must “(1) detail the statements (or omissions) that [the plaintiff] contends are fraudulent, (2)
identify the speaker, (3) state where and when the statements (or omissions) were made, and (4)
explain why the statements (or omissions) are fraudulent.”9 Under FRCP 9(b), allegations of fraud
must state the circumstances constituting the fraud “with particularity.”10 Pleading claims of fraud
but failing to identify specific false or misleading disclosures made by the defendant constitutes
grounds for dismissing a complaint under Rule 12(b)(6).11
        There are two fraud based claims made by plaintiffs, one for fraudulent transfer against all
defendants and one fraud claim against only one defendant, Ali Choudhri, who is not one of the
movants. An element common to fraudulent transfers under TUFTA and the Bankruptcy Code is
that the transfer must be of an interest of the debtor in property. Although not defined in the
Bankruptcy Code,12 the Fifth Circuit has interpreted the phrase to refer to any interest of the debtor
in property that would constitute property of the debtor’s bankruptcy estate but for the debtor’s
transfer of such interest.13 The Complaint asserts sufficient facts in support of its claims that the
defendants used various agreements to conceal ownership interest, control of assets, transferred
personal assets, including cash, commingled funds, paid debts of each other and diverted profits.




8
  FRCP. 9(b).
9
  Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo Secs., LLC, 797 F.3d 160, 171 (2d Cir. 2015). See also McCauley
v. Home Loan Inv. Bank, 710 F.3d 551, 559 (4th Cir. 2013); U.S. v. Planned Parenthood of the Heartland, 765 F.3d
914, 916–17 (8th Cir. 2014); Sanderson v. HCA - The Healthcare Co., 447 F.3d 873, 877 (6th Cir. 2006); Borsellino
v. Goldman Sachs Grp., 477 F.3d 502, 507 (7th Cir. 2007); Williams v. WMX Techs., Inc., 112 F.3d 175, 179 (5th
Cir. 1997).
10
   Fed. R. Civ. P. 9(b); see also, Hernandez v. Ciba-Geigy Corp., 200 F.R.D. 285, 290 (S.D. Tex 2001); U.S. v.
Medco Health Solutions, Inc., 671 F.3d 1217, 1222 (11th Cir. 2012).
11
   Royal Bus. Grp. v. Realist, Inc., 933 F.2d 1056, 1065-66 (1st Cir. 1991).
12
   In re Jenkins, 617 B.R. 91, 104 (Bankr. N.D. Tex. 2020).
13
   In re Criswell, 102 F.3d 1411, 1416 (5th Cir. 1997);
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         11 U.S.C. § 548 provides two bases to avoid a qualifying transfer, actual fraud and
constructive fraud. The forms of fraud are distinguished by how fraud is proven. A transfer made
with actual fraud involves a transfer made with actual intent to hinder, delay, or defraud,14 while a
constructive fraud claim is based on a transfer where the debtor received less than equivalent value
in exchange for such transfer and was insolvent, or was engaged in business for which any property
remaining with the debtor was an unreasonably small capital, or intended or believed that the
debtor would incur debts that would be beyond the ability of the debtor to repay on the date such
transfer was made.15 The Fifth Circuit has articulated the following “badges of fraud” in
connection with Section 548: (1) the lack of inadequacy of consideration received by the debtor;
(2) the family, friendship or close associate relationship between the parties; (3) the retention of
possession, benefit or use of the property in question; (4) the financial condition of the debtor—
both before and after the transaction in question; (5) the existence or cumulative effect of the
pattern or series of transactions or course of conduct after the incurring of debt by the debtor; (6)
onset of financial difficulties by the debtor; (7) pendency or threat of suits by creditors of the
debtor; and (8) the general chronology of events and transactions under inquiry.16 The plaintiffs’
actual fraud claim is subject to the heightened standard of Federal Rule of Civil Procedure 9(b),
incorporated into Rule of Bankruptcy Procedure 7009(b). Applying these standards to the facts of
this particular case, the Court concludes that Plaintiffs have pled fraud with sufficient particularity
to satisfy the Rule 9(b) standard with respect to their fraudulent transfer claims. Several of these
“badges of fraud” articulated by the Fifth Circuit are pled with particularity in the Complaint and
the two supplements. In addition, plaintiffs have satisfied the Fifth Circuit’s standard by
specifically pointing to dates, amounts, and individuals who were involved in the alleged
fraudulent transfers with intent to defraud creditors.17
         To state a claim for a constructive fraudulent transfer, three elements must be established:
(1) the debtor transferred an interest in property; (2) the debtor received less than a reasonably
equivalent exchange for such transfer; and (3) the debtor was or became insolvent at the time of
the transfer or incurred the obligation, or was engaged in a business with unreasonable small


14
   11 U.S.C. § 548(a)(1)(A).
15
   1 1 U.S.C. § 548(a)(1)(B).
16
   In re Soza, 542 F.3d 1060 (5th Cir. 2008).
17
   In re Cyr, 602 B.R. 315 (Bankr. W.D. Tex. 2019), citing Think3 Litig. Tr. v. Zuccarello (In e Think3, Inc., 529
B.R. 147 (Bankr. W.D. Tex. 2015).
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capital, or intended or believed that the debtor would incur debts beyond the debtor's ability to pay
when due, or made such transfer or incurred such obligation for the benefit of an insider under an
employment contract and not in the ordinary course of business.18 The Complaint adequately sets
forth facts in support of these elements by stating sufficient allegations identifying transferred
assets in which the debtor would have had a legal or equitable interest at the time of filing as
required in order to defeat the motion to dismiss.
           Alter Ego and Joint Enterprise Liability
           Lastly, the movants argue that there are two causes of action plead that are not true causes
of action; i.e., alter ego and joint enterprise liability. They argue that alter ego is a means of
imposing liability and any analysis of alter ego liability is premature at this time as there is no
cause of action pled. The Court has already found that there is a cause of action, so this argument
is without merit.
           The joint enterprise liability cause of action in the Complaint is that the defendants “had
an understanding or common purpose to be carried out by the enterprise, a community of pecuniary
interest in that common purpose and an equal right to direct and control the enterprise. The
Choudhri Defendants also committed one or more torts against Plaintiffs while acting within the
scope of the enterprise.” There is no allegation that the defendants acted as a single business
enterprise as cited in the case law urged by the movants.19 Instead, it is a joint enterprise claim.
           ACCORDINGLY, IT IS ORDERED that the Motions to Dismiss, and the Joinder are
denied.


            SIGNED 12/05/2024


                                                              ___________________________________
                                                              Jeffrey Norman
                                                              United States Bankruptcy Judge




18
     BFP V. Resolution Trust Corp., 511 U.S. 531, 535, 114 S.Ct. 1757, 128 L.Ed.2d 556 (1994).
19
     SSP Partners v. Gladstrong Investments, 275 S.W.3d 444, 456 (Tex. 2008).
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